                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                   NO. 3:16cr97

 UNITED STATES OF AMERICA,                    )
                                              )
               Plaintiff,                     )
                                              )                   ORDER
    v.                                        )
                                              )
 FERMIN GARZA,                                )
                                              )
               Defendant.                     )
                                              )

         UPON MOTION OF THE UNITED STATES OF AMERICA, the Court hereby grants

leave to the United States to move to dismiss and hereby orders the dismissal of the above-

captioned Bill of Indictment as it relates to Defendant FERMIN GARZA without prejudice.

         IT IS SO ORDERED.
                                        Signed: August 24, 2017




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